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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

INMAR, INC. and COLLECTIVE BIAS, INC.,

                             Plaintiffs,                       Case No: 18-cv-2306

           v.                                                Judge Charles R. Norgle

MONICA MURPHY VARGAS and MLW
SQUARED, INC., d/b/a AHALOGY,

                             Defendants.


                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Friday, June 1, at 10:30 a.m., or as soon thereafter as

counsel may be heard, the undersigned shall appear before the Honorable Charles R. Norgle, or

any judge sitting in his stead, in the United States District Court for the Northern District of

Illinois, Room 2346, Dirksen Federal Building, and shall then and there present Defendants’

Joint Motion to Dismiss Plaintiffs’ Complaint and Memorandum in Support of Joint Motion

to Dismiss Plaintiffs’ Complaint, copies of which are hereby served upon you.

Dated: May 24, 2018                              Respectfully submitted,


                                                 /s/ Daniel R. Saeedi

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                                 CERTIFICATE OF SERVICE

         I, Daniel R. Saeedi, an attorney of record in this matter, hereby certify that on May 24,

2018, I caused a copy of the foregoing to be filed with the Court’s CM/ECF system, which

provides notice to all counsel of record via electronic mail.



                                                      /s/ Daniel R. Saeedi




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